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5
6                              IN THE UNITED STATES DISTRICT COURT
7                            FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,    )                         Cr. No. S 94-0320 JAM
                                  )
10                 Plaintiff,     )                         GOVERNMENT’S MOTION TO
                                  )                         DESTROY ORIGINAL RECORDINGS
11           v.                   )                         OF COURT AUTHORIZED T-III
                                  )                         INTERCEPTS and ORDER
12   ARMANDO CHRISTOPHER TABAREZ, )
     et al.,                      )
13                                )
                   Defendants.    )
14                                )
15
            The government moves for authorization for the U.S. Drug Enforcement Administration to
16
     destroy the original recordings of the Court authorized intercepted telephone communications in the
17
     above captioned closed case. 18 U.S.C. § 2518(8)(a) requires Court authorization to do so. The case
18
     is over with all defendants except one convicted and the charges against the one remaining (fugitive)
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     defendant now dismissed. No appeals are pending. DEA wants to close out their file and dispose of
20
     the physical evidence, including the above described recordings.
21
22
     Dated: November 7, 2011
23                                                BENJAMIN B. WAGNER
                                                  U.S. Attorney
24
25                                                by     /s/ Richard J. Bender
                                                         RICHARD J. BENDER
26                                                       Assistant U.S. Attorney
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1                               IN THE UNITED STATES DISTRICT COURT
2                            FOR THE EASTERN DISTRICT OF CALIFORNIA
3
4    UNITED STATES OF AMERICA,    )                            Cr. No. S 94-0320 JAM
                                  )
5                  Plaintiff,     )
                                  )                            ORDER AUTHORIZING
6            v.                   )                            DESTRUCTION OF ORIGINAL T-III
                                  )                            RECORDINGS
7    ARMANDO CHRISTOPHER TABAREZ, )
     et al.,                      )
8                                 )
                   Defendants.    )
9                                 )
10
11          Upon motion of the government, the case having been closed and good cause having been
12   shown, it is hereby ORDERED that the Drug Enforcement Administration is authorized to destroy the
13   original T-III recordings in the above referenced case.
14
15   Dated: November 7, 2011
16                                                        /s/ John A. Mendez
17                                                        JOHN A. MENDEZ
                                                           U.S. District Court Judge
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